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 5                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF WASHINGTON
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 7    DAVID HAM, CYNTHIA HAM-
      SANCHEZ and their marital                   NO: 2:19-CV-0236-TOR
 8    community, and MICHAEL HAM,
                                                  ORDER OF PARTIAL DISMISSAL
 9                             Plaintiffs,        WITH PREJUDICE
            v.
10
      CITY OF SPOKANE,
11                             Defendant.

12

13    RICHARD DAHL,
                              Plaintiff,
14
            v.
15
      CITY OF SPOKANE, et al.,
16
                               Defendants.
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18         BEFORE THE COURT is the Plaintiffs David Ham, Cynthia Sanchez-Ham,

19   and Michael Ham and Defendant City of Spokane’s Stipulation of Voluntary

20   Dismissal with Prejudice (ECF No. 18). The stipulation is filed pursuant to



     ORDER OF PARTIAL DISMISSAL WITH PREJUDICE ~ 1
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 1   Federal Rule of Civil Procedure 41(a)(1)(A)(ii) and provides for the Ham

 2   Complaint and all claims of the Ham Plaintiffs in this action are dismissed with

 3   prejudice and without an award of costs or attorney fees to any party. The Court

 4   has reviewed the record and files herein, and is fully informed.

 5         According to Rule 41(a)(1)(A)(ii), a plaintiff may dismiss an action by filing

 6   a stipulation signed by the parties.

 7   ACCORDINGLY, IT IS HEREBY ORDERED:

 8         Pursuant to Rule 41(a)(1)(A)(ii) and the parties’ stipulation, the Ham

 9   Complaint and all claims of the Ham Plaintiffs in this action are dismissed with

10   prejudice and without an award of costs or attorney fees to any party.

11         The District Court Executive is directed to enter this Order, furnish copies to

12   counsel, and terminate the Ham Plaintiffs from the docket.

13         DATED November 9, 2020.

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15                                   THOMAS O. RICE
                                  United States District Judge
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     ORDER OF PARTIAL DISMISSAL WITH PREJUDICE ~ 2
